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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                          EASTERN DIVISION - COLUMBUS


RYAN DRUHOT                                 : Case No.
c/o Rittgers & Rittgers                     :
12 E. Warren St.                            : Judge
Lebanon, OH 45036                           :
                                            :
                    Plaintiff,              : COMPLAINT AND JURY DEMAND
      v.                                    :
                                            :
C.O. JOHN SMITH                             :
Madison Correctional Institution            :
1851 State Route 56                         :
London, OH 43140                            :
Individually and in his Official Capacity   :
as a corrections officer                    :
                                            :
And                                         :
                                            :
C.O. JOSHUA MOREHART                        :
Madison Correctional Institution            :
1851 State Route 56                         :
London, OH 43140                            :
Individually and in his Official Capacity   :
as a corrections officer                    :
                                            :
And                                         :
                                            :
C.O. MATTHEW LEVINGER                       :
Madison Correctional Institution            :
1851 State Route 56                         :
London, OH 43140                            :
Individually and in his Official Capacity   :
as a corrections officer                    :
                                            :
And                                         :
                                            :
C.O. ZACHARY HAYNES                         :
Madison Correctional Institution            :
1851 State Route 56                         :
London, OH 43140                            :
Individually and in his Official Capacity   :
as a corrections officer                    :

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                                                 :
     And                                         :
                                                 :
     JOHN DOE CORRECTIONS                        :
     OFFICERS 1-5                                :
     Madison Correctional Institution            :
     1851 State Route 56                         :
     London, OH 43140                            :
     Individually and in their Official          :
     Capacities as corrections officers          :
                                                 :
                           Defendants.           :




                                  I. PRELIMINARY STATEMENT

1.          This civil rights action challenges as excessive force and cruel and unusual punishment,

the assault and battery of Plaintiff by Defendants while he was an inmate at Madison Correctional

Institution (“MaCI”) in London, Ohio. Plaintiff brings this action in order to secure fair

compensation for the injuries he sustained and to deter future incidents of unwarranted uses of

force by Defendants and other prison guards within the Ohio Department of Rehabilitation and

Corrections.

                                          II. JURISDICTION

2.          Jurisdiction over claims arising from Defendants’ violation of the Civil Rights Act is

conferred upon this Court by 28 U.S.C. §§ 1331, 1343 (3) and (4).


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3.           Venue is proper in this Division because the events giving rise to the action occurred at

MaCI in London, Madison County, Ohio.

                                           III. THE PARTIES

4.           Plaintiff is an adult male who, at all times relevant to this Complaint, was an inmate at

MaCI.

5.           Defendants Smith, Morehart, Levinger and Haynes were at all times relevant to this

action employed by MaCI as corrections officers. Defendants are “persons” under 42 U.S.C. §

1983 and at all times relevant to this case acted under color of law. They are sued in both their

individual and official capacities.

6.           Defendants John Does 1-5 are currently unidentified persons who were at all times

relevant to this action employed by MaCI as corrections officers who initially encountered

Plaintiff in the Washington Bravo unit of MaCI. They are “persons” under 42 U.S.C. § 1983 and

at all times relevant to this case acted under color of law. They are sued in both their individual

and official capacities.

                                                IV. FACTS

8.           On or about March 18, 2021, Plaintiff was in the Washington Bravo unit of MaCI when

he was physically battered and handcuffed by Defendants John Does 1-5.

9.           Following the initial battery, Defendants Smith, Morehart, Levinger and Haynes took

custody of Plaintiff and transported him to the infirmary.

10.          In Washington Bravo and during the transport, Defendants Smith, Morehart, Levinger

and Haynes physically battered and applied chemical spray to Plaintiff.

11.          There was no justification for the extent and duration of Defendants’ use of force against

Plaintiff.



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12.       Plaintiff timely grieved the use of force pursuant to the Prison Litigation Reform Act

and the outcome was favorable to Plaintiff.

13.       As a direct and proximate result of the conduct of Defendants, Plaintiff suffered

significant personal injury, both temporary and permanent, and has endured pain and suffering.

              SOLE CAUSE OF ACTION - EXCESSIVE FORCE (42 U.S.C. § 1983)

14.       Plaintiff incorporates his previous allegations as if fully rewritten herein.

15.       At all relevant times to this action, Defendants were acting under color of law as agents,

servants, and employees of MaCTI.

16.       The use of force by Defendants on Plaintiff was unreasonable, excessive, and violated

clearly established law.

17.       As a result, Plaintiff was deprived of rights, privileges, and immunities secured to him

by the U.S. Constitution, including but not limited to the right to be free of excessive force set

forth in the Fourth Amendment to the U.S. Constitution and the right to be free from cruel and

unusual punishment set forth in the Eighth Amendment to the U.S. Constitution.

         WHEREFORE, Plaintiff respectfully demands judgment against Defendants in excess of

$75,000, jointly and severally, for compensatory damages to be proved at trial, punitive damages

because the actions of Defendants were malicious and intended to cause Plaintiff severe harm,

reasonable attorney’s fees, costs and all other relief to which he may be lawfully entitled.

                                                Respectfully submitted,


                                                /s/ Konrad Kircher
                                                Konrad Kircher (0059249)
                                                Ryan J. McGraw (0089436)
                                                RITTGERS & RITTGERS
                                                12 E. Warren St.
                                                Lebanon, Ohio 45036
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                                           ryan@rittgers.com
                                           Attorneys for Plaintiff

                                     JURY DEMAND

   Plaintiff demands trial by a jury on all issues so triable.


                                           /s/ Konrad Kircher
                                           Konrad Kircher (0059249)




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